           Case 3:20-cv-04423-JD Document 97 Filed 11/15/21 Page 1 of 3


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                                                 November 15, 2021
Via CM/ECF
The Honorable James Donato
United States District Court
for the Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

       Re:      Schneider et al. v. YouTube, LLC et al., Case No. 3:20-cv-04423-JD,
                Response to Discovery Letter Brief (Dkt. 95)

Your Honor:

        Plaintiff Maria Schneider has yet to articulate a viable copyright claim considering the
licenses that she, her agents, and others granted to YouTube to use her works. Schneider also
faces insuperable impediments to her representation of a supposed class of copyright holders.
Nevertheless, she continues to pursue a sweeping, costly, and unjustified discovery campaign.
She has now demanded gargantuan data stores containing private information of millions of
third-party users and copyright holders, and the details of how parties have chosen to protect
their works on YouTube. At the Court’s direction, the parties spent hours negotiating a
reasonable compromise to that unreasonable demand. But Schneider’s latest discovery letter
brushes aside those efforts and attempts to start this dispute from scratch. Her motion is without
merit and should be denied.

        The parties reached a compromise concerning these very requests. Plaintiff’s letter
renews her demand for (1) the entirety of a database containing details of hundreds of millions of
claims that copyright holders have made using YouTube’s unique Content ID system, through
which they can monetize or block videos on the YouTube service that match their works, and
(2) the entirety of a database containing the details of each of the tens of millions of takedown
notices that copyright holders have sent to YouTube requesting the removal of videos from the
service pursuant to the safe harbor provisions of the Digital Millennium Copyright Act
(“DMCA”). The requests are essentially the same as those raised in her prior letter brief (see Dkt.
70) and cover hundreds of millions of rows of data. YouTube objected on relevance and burden
grounds (Dkt. 75), and the Court directed a meet-and-confer between lead counsel (Dkt. 82).
Over the course of over a dozen hours of discussions on these and other issues, the parties
reached an agreement whereby YouTube would produce the schemas for its Content ID and
takedown databases, including names and descriptions of the database fields.1 YouTube further

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     YouTube also agreed to produce (and has produced) documents showing the number of
users it terminated pursuant to its DMCA repeat infringer policy and Plaintiff’s own takedown
notices, and offered information from its databases for the videos and channels to which Plaintiff
directed takedown notices. That is, YouTube offered the information germane to Plaintiff’s own
claims, rather than information on every claim anyone has ever made.

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           Case 3:20-cv-04423-JD Document 97 Filed 11/15/21 Page 2 of 3




agreed to produce sample data, and began the process of redacting the personally identifiable
information in that sample. YouTube informed Plaintiff on October 29 that it expected to
produce the database schemas and privacy-redacted sample data soon. Plaintiff did not respond.
Less than two hours later, Plaintiff filed this motion, reiterating her demand for the entirety of the
databases, and consigning to a footnote the parties’ admitted “agreement,” claiming it was
“not . . . a compromise.” Letter at 3 n.2. That is the opposite of a cooperative and constructive
meet-and-confer process. The Court should deny Plaintiff’s motion for this reason alone.

        Schneider’s document requests are facially problematic. RFP No. 28 seeks “[a]ll
databases Concerning Takedown Notices,” regardless of the actual contents of any such
database. Schneider characterizes the impenetrable language of RFP No. 78 as seeking
“YouTube’s Content ID database.” Letter at 2. To the extent these requests are not impermissibly
vague, they are overbroad because they seek hundreds of millions of rows of database
information about claimants, claims, matches, works, and videos that have nothing to do with
Plaintiff’s case.

        Producing such databases poses serious privacy issues. Plaintiff’s request for
YouTube’s Content ID and takedown databases also raises serious privacy issues as it would
require the production of immense amounts of third-party data, including names, phone numbers,
email addresses, and physical addresses of millions of Internet users with no connection to this
case. Plaintiff’s demand for Content ID databases, for example, seeks data about every user who
posted a video that the Content ID system matched, whether that video was blocked, monetized,
or tracked. But producing databases that contain even a fraction of that data for a single year
would be grossly overbroad: As of April 2021, more than 20 million YouTube accounts had had
a video blocked due to a Content ID claim received in 2020 alone. In addition, while reflecting
only a tiny fraction of the total number of videos on the service, YouTube received more than 20
million takedown notices between January 2015 and December 2020. A production of databases
reflecting such activity implicates numerous national and international privacy regimes and the
personal information of millions of people—for no good reason.2

        The sufficiency of YouTube’s repeat infringer policy is a question of law. As before,
Plaintiff contends that YouTube’s databases would allow her to evaluate whether YouTube
reasonably implements a repeat infringer policy under the DMCA because users whose videos
are monetized or blocked through Content ID should be treated as infringers. See Letter at 2-3.
Schneider’s legal premise is deeply flawed. For one thing, copyright owners who choose to
monetize videos found through Content ID expressly license their works, barring any
infringement claim. More fundamentally, no law states that matches generated automatically by
Content ID, without a formal infringement notice or any human review, must be treated as
infringements for purposes of a DMCA repeat infringer policy. To the contrary, the DMCA
grants services broad discretion to design their repeat infringer policies and apply them in

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     Plaintiff’s suggestion that YouTube “anonymize the identities of users in the databases,”
using “consistent identifiers,” is no solution. Letter at 3. This would require YouTube to develop
a bespoke anonymization system for this case. To the extent feasible, it would require
staggeringly disproportionate effort, as would applying privacy redactions to hundreds of
millions of entries.

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           Case 3:20-cv-04423-JD Document 97 Filed 11/15/21 Page 3 of 3




“appropriate circumstances.” 17 U.S.C. § 512(i)(1)(A). And YouTube’s policy and its
implementation have been expressly validated in court. See Viacom Int’l, Inc. v. YouTube, Inc.,
718 F. Supp. 2d 514, 527-28 (S.D.N.Y. 2010) (as a matter of law, YouTube adopted and
reasonably implemented a repeat infringer policy), aff’d in part, rev’d in part, 676 F.3d 19 (2d
Cir. 2012). In any event, YouTube has offered to stipulate that it does not impose copyright
“strikes” based on a Content ID match. If Plaintiff believes that means YouTube has not
reasonably implemented a repeat infringer policy, she can advance that misguided legal
argument without this mass of information, much of it personally identifiable.3

        The theoretical claims of a putative class cannot justify this discovery. Finally,
Plaintiff purports to need YouTube’s databases to identify members of a putative class and
evaluate the merits of their claims. See Letter at 2-3. Even assuming that YouTube’s databases
contain information about “the ownership of copyrights” and the volume of takedown notices
and counter notices (id.), that information is not necessary for class certification—and certainly
does not warrant the production of entire databases.4 Insofar as Plaintiff seeks YouTube’s
databases to identify class members or evaluate their claims, her request is premature where no
class exists (and certification proceedings have not been scheduled).

        Plaintiff provides no reason for this Court to compel the production of an ill-defined set
of databases, encompassing the data of millions, virtually none of which has any conceivable
bearing on her claims. YouTube stands ready to produce the database fields, descriptions, and
redacted sample data to which the parties had previously agreed, and renews its offer to stipulate
regarding how YouTube treats Content ID blocks. YouTube can also agree to revisit the requests
in the unlikely event a class is ever certified. See Football Ass’n Premier League v. YouTube,
Inc., 297 F.R.D. 64 (S.D.N.Y. 2013) (denying certification). At this stage, that is all that is
appropriate.

                                                  Respectfully submitted,

                                                  WILSON SONSINI GOODRICH & ROSATI
                                                  Professional Corporation

                                                  /s David H. Kramer
                                                  David H. Kramer
                                                  Attorneys for Defendants and Counterclaimants
                                                  GOOGLE LLC and YOUTUBE, LLC

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     Contrary to Plaintiff’s claim, the databases will not show that YouTube controls and profits
from infringement through Content ID. Letter at 2-3. Even if there were legal support for that
assertion (and there is not), the argument appears to turn on the capabilities of the Content ID
system, not the minute details of how all participants have used the system.
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       Plaintiff provides no support for the conclusory and incorrect claim that these requests
seek information “relevant to the predominance analysis for the class” and “relevant to class
certification.” See Letter at 2-3. That there are highly-individualized issues applicable to each
claimed infringement is manifest without the production of hundreds of millions of database
records.

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